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     IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
                              PENNSYLVANIA


PURVI LLC T/A THE LINCOLN MOTEL                                               :
                                                                              :                      CIVIL ACTION
                                Plaintiff                                     :
                                                                              :
                                                                              :
v.                                                                            :
                                                                              :    NO. 2:18-cv-00822-WB
NATIONAL FIRE & MARINE INSURANCE                                              :
COMPANY and KK INSURANCE AGENCY                                               :
                                                                              :
                                Defendants.                                   :
                                                                              :
                                                                              :
                                                                              :
                                                                              :
                                                                              :
                                                                              :

  VOLUME V OF JOINT APPENDIX OF EXHIBITS IN SUPPORT OF DEFENDANTS’
                  MOTIONS FOR SUMMARY JUDGMENT

Volume I

Amended Complaint (Exhibit A) ........................................................................................ JA00001

2016 Acord Insurance Application (Exhibit B) .................................................................. JA00015

Supplemental Questionnaire for 2016 Insurance Application (Exhibit C) ......................... JA00023

2016 Quotes (Exhibit D) ..................................................................................................... JA00027

March 14, 2016 Letter Forwarding Policy to Purvi (Exhibit E) ......................................... JA00035

Commercial Property Policy issued to Purvi by National Fire (Exhibit F) ........................ JA00037

Declaration Page for Commercial Property Policy Issues to Purvi by National Fire
(Exhibit G) .......................................................................................................................... JA00113

Inspection Checklist (Exhibit H) ........................................................................................ JA00115

Relevant Portions of Deposition of Jyoti Panwala (Exhibit I) ............................................ JA00119

Relevant Portions of Deposition of Vishal Patel (Exhibit J) .............................................. JA00225




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Volume II

Relevant Portions of Deposition of Bharat Sondhi (Exhibit K) ......................................... JA00254

5/17/2016 Letter From National Acknowledging Claim (Exhibit L) ................................. JA00260

5/31/2016 Letter From National re: Advance Payment (Exhibit M) .................................. JA00262

9/7/2016 Letter From National re: Payment for Building Claim (Exhibit N) .................... JA00264

10/28/2016 Letter From National re: BPP Claim (Exhibit O) ............................................ JA00267

10/12/2017 Letter From National re: Additional Payment (Exhibit P) .............................. JA00270

10/24/2017 Letter From National re: BIEE Payment (Exhibit Q) ...................................... JA00273

11/3/2017 Letter From National re: BPP Claim (Exhibit R) .............................................. JA00276

11/3/2017 Letter From National re: Partial Denial of Claim for Accounting Invoice
(Exhibit S) ........................................................................................................................... JA00279

Volume III

12/4/2017 Letter From National re: Supplemental Payment (Exhibit T) ........................... JA00283

Copies of Checks for Payment of Claim (Exhibit U) ......................................................... JA00286

Report of Vericlaim re: Claim Analysis (10th) (Exhibit V) ................................................ JA00310

Report of JS Held re: Repair Costs (Exhibit W) ................................................................. JA00318

Volume IV

Report of ATI re: Repair Costs (Exhibit X)........................................................................ JA00443

9/7/2016 Letter From National re: Coverage for CPR Asbestos Expenses (Exhibit Y)..... JA00612

CPR Complaint Against National and Purvi (Exhibit Z).................................................... JA00617

CPR Invoice (Exhibit AA) .................................................................................................. JA00631

Contract Interiors Invoice and Checks (Exhibit BB) .......................................................... JA00633

VP Architectural Report (Exhibit CC)................................................................................ JA00672

February 3, 2017 Email (Exhibit DD) ................................................................................ JA00676


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Volume V

Santos Report (Exhibit EE)................................................................................................. JA00678

Santos CV (Exhibit FF) ...................................................................................................... JA00683

Public Adjuster Contract (Exhibit GG)............................................................................... JA00688

Unexecuted Contract Between Radical Renovations and Contract Interiors
(Exhibit HH) ....................................................................................................................... JA00693

Application for Building Permit (Exhibit II) ...................................................................... JA00714

Patel Spreadsheet (Exhibit JJ)............................................................................................. JA00717

Expert Report of Anthony Ciccodicola (Exhibit KK) ........................................................ JA00719

Settlement Agreement in CPR v. National Fire and Purvi (Exhibit LL) ............................ JA00748

Supplemental Report of ATI re: Repair Costs (Exhibit MM) ............................................ JA00758




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            EXHIBIT EE




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                           JA00679
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                           JA00680
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                           JA00681
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                           JA00682
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            EXHIBIT FF




                           JA00683
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                                   Edward R. Santos


Summary   :
                      A reinsurance broker with 35 years experience in the insurance and reinsurance
                      industries, with special emphasis on treaty and facultative reinsurance; exhibits
                      thorough knowledge of insurance and reinsurance concepts and terms for
                      placing new and existing clients with appropriate reinsurance programs, including
                      domestic and international travel; adept at preparation of placement slips, cover
                      notes, drafts and amendments for client contracts, as well as establishing and
                      maintaining client, reinsurer, and internal company relationships, leading teams
                      of brokers, and managing time and expenses for profitable results; also fluent in
                      Spanish

Employment
Accomplishments   :




2003 to Present       Senior Vice President
                      Gill and Roeser, Inc., New York, NY

                      • Retained by Exporters Insurance Company, a 25-year-old specialist political
                          risk and export credit insurance company with domestic and international
                          offices, to assist with finding a suitable insurer with whom they could enter a
                          modified MGA agreement; in turn, placed them with QBE, who purchased the
                          renewal rights of Exporters' book of business and hired key staff to manage
                          the Exporters business at QBE
                      • Completed the financial guaranty insurance wrap with an S&P AAA-rated
                          insurer for Accent Capital Corporation, L.L.C., a CAPCO venture capital fund
                          based in Austin, TX, who raised $200 million from insurance investors for the
                          first-ever Texas CAPCO program
                      • Obtained the agreement to conduct a consulting assignment for the start-up
                          of a new captive insurer on behalf of Complete Film Corporation, L.L.C., with
                          insurance lines dedicated to the film industry, including completion bonds,
                          cast and negative, and GAP
                      • Responsible for production, managing, and servicing of business,
                          specializing in the areas of credit, political risk, surety, and financial lines
                      • Provides consulting services to firms seeking to establish credit and political
                          risk underwriting operations and other niche insurance areas

1999 to 2003          Senior Vice President
                      Towers Perrin Reinsurance Intermediary, Philadelphia, PA

                          Worked with a team of specialists in the field of trade credit and political risks
                          to win the business of the World Energy Council (WEC), then organized a
                          working partnership with the Multilateral Investment Guaranty Agency of
                          Washington, D.C. and WEC for new business in political risk insurance lines
                          Produced and placed a domestic trade credit reinsurance treaty for Dexta
                          Corporation, Ltd., an Australian-based MGA, which then used COFACE, one
                          of France's largest credit insurance providers and an S&P AA-rated
                          company, as their issuing paper, securing four renewals before COFACE
                          purchased the company




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                               Edward R. Santos


                     Placed GE Frankona RE's retro reinsurance protections for political risk,
                     trade credit, and surety business with an S&P AAA-rated reinsurer for this
                     Munich, Germany-based operation
                     Developed and placed a surety reinsurance treaty for Bond Support Ltd., a
                     United Kingdom-based MGA specializing in financial-type bonds for the
                     banking industry, as well as arranged an S&P AAA-rated insurance carrier
                     for the MGA to act as their fronting company (total capacity was 10 million
                     pounds per bond)

1990 to 1999     President
                 Arthur J. Gallagher Treaty Intermediaries, Inc., New York, NY

                 • Placed the first health reinsurance treaty for Bamerindus Seguros of Curitiba,
                     Brazil, the third largest insurer and bank in that country
                 • Assisted in developing a domestic and export credit insurance division for
                     FAI Insurances of Sydney, Australia, a multi-line insurer, working with a
                     consultant from a major European credit insurer to prepare a feasibility study
                     and business plan for the insurance operation; also placed a reinsurance
                     treaty with a world-wide panel of reinsurers who permitted FAI Insurances to
                     underwrite up to $25 million per risk
                 • Retained as reinsurance broker for People's Insurance Company of
                     Singapore, a large multi-line insurer, to start up the first private market credit
                     and political risk insurance operation in the Far East, initially placing a
                     combination credit and political risk treaty with a number of leading
                     reinsurers, then subsequently extending the treaty to include surety bonds
                     and significantly expanding the treaty capacity
                 • Responsible for production, managing, and servicing of reinsurance
                     business, specializing in areas of credit, political risk, surety, and financial
                     lines
                 • Provided consulting services for firms seeking to establish credit and political
                     risk underwriting operations and other niche areas of the insurance industry


1987 to 1990     Vice President
                 Thomas A. Greene and Company, New York, NY

                 • Worked with reinsurance clients in the field of political risk and export credit
                    insurance for companies such as Pan Financial Insurance Company and
                    Crum and Forster/ North River Insurance Company
                 • Managed production and marketing of reinsurance treaties for political risks,
                    as well as domestic and export credit risks for this wholly-owned subsidiary
                    of Alexander and Alexander, which was purchased by Aon




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                                    Edward R. Santos


1983 to 1987           Account Executive/ Vice President
                       John F. Sullivan Company/ Fred S. James and Company, New York, NY

                           Worked with reinsurance clients in the field of political risk and export credit
                           insurance for companies such as Crum and Forster/ North River Insurance
                           Company, Cigna, Chubb Group, Pool D'Assurances Des Risques
                           International/ Unistrat, and Sirius International Corp.
                           Promoted to position in financial products department of parent company,
                           wherein specialized in political risks and export credit reinsurance, serving in
                           both treaty and facultative capacities
                           As reinsurance intermediary, assisted with placing property and casualty
                           treaties and developing credit and political risk activities for firm

1975 to 1982           Insurance Agent
                       Sentry Insurance Group, Morristown, NJ

                       • Trained and worked in insurance underwriting, claims, loss control, and sales
                       • Led production, marketing, and management of all lines of domestic
                           insurance for this property, casualty, life, and health insurance for their New
                           York region

Employment
Responsibilities   :




                       • Oversee production and maintenance of professional reinsurance programs
                           for current and prospective clients while designing new programs to satisfy
                           specific clients' needs
                       • Lead team of brokers to ensure proper training, duty assignments, and
                           understanding of company guidelines and expectations, then monitor their
                           progress and provide performance feedback and assessments and
                           communicate observations to management
                       • Sustain on-going client and market relationships, as well as acquire new
                           clients through establishing solid relationships via entertaining, holding
                           meetings, and exhibiting professional skills for domestic and international
                           clients
                       • Maintain comprehensive knowledge of reinsurer product lines, capacities,
                           approvals, and criteria, along with company's market information and legal
                           departments, in order to properly assess and place reinsurance risks
                       • Adhere to company procedures and professional standards to minimize
                           potential for errors and omissions incidents
                       • Produce revenue and maximize company profits through gaining new clients
                           and managing time, expenses, and services when working with all clients
                       • Ensure timely production of appropriate account and program documents
                       • Monitor client accounts and respond to client inquiries and concerns,
                           resolving any arising issues promptly and effectively within company
                           guidelines
                       • Update management on a regular basis and upon request




                                                JA00686
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                                  Edward R. Santos


Education/
Licenses:

1975                 Bachelor of Science, Double Major in Business Management and Marketing
                     Montclair State University, Montclair, NJ

1976 to Present      New York State Property and Casualty Insurance Broker's License
                     License #746131

2007 to Present      New Jersey Insurance Producer License, Property and Casualty
                     License #1100550

Publications :

August, 2005         "Stakes Raised for Political Risk Coverage"
                     National Underwriter: Buyer's Report

March/ April, 2003   "Politically Risky Business"
                     Northeast Export: The Magazine for New England Companies Engaged in
                     World Trade

October, 1993        "Credit and Political Risk- Time for Another Look by Reinsurers?"
                     Global Reinsurance: North American Insurance and Reinsurance Special Edition




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            EXHIBIT GG




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                                                    The Insurance Doctor, Inc.

                                                                                                   704 Lakeside Drive,.5outhampton, PA 18966
                                      Office 609-385-9446 * Fax 609 -957-5645'
                                                                               Toll Free 1-800-969-6851
                                                                                                         WWW.InsuranceDoctorAdiuster.com
                                                                                                            info@propertylossadvisors.com


                                                                                           Contract Date:    .5   V*
  The undersigned "insured" hereby retains The
                                                           PUBLIC ADJUSTER CONTRACT
                                                                                                              1




                                                   Insyyrance Dÿ for c. P lic Adjuster") to advise and assist In t
                                                                          I
                                                                                                                  `
                                                                                                                          ad
  the insurance clai arising from loss at                                                                                  odjustmen of
                                                4277  Gf ¡n{
              20) ,the insured agrees to pay the Public adjuster fó'             which Occurred on or about e.              day of_
  paid by the insurance company for this loss.                              such'services a contingent fee o          % of the amoun
                                                The contingent fee of the Public Adjuster shall be
 issued by the Insurance company in the                                                              due from each draft or check
                                            percentage listed in this contract. In addition to the
 agrees in advance, the insured will reimburse the                                                 contingent  fee, and if the insured
                                                      Public Adjuster for extraordinary expenses above
 of doing business, such as expert witness fees                                                           and   beyond the normal costs
                                                  and expenses, engineer and inspection fees. Insured:
 request and authorize your insurer to add the                                                             by signing this contract you
                                                  Public Adjuster as an additional payee on all drafts or checks pertaining
 This agreement contains the entire                                                                                            to this loss.   .,
                                      contract between the parties and may not be changed, altered or
 Insured has a right to rescind (cancel) this contract for                                                  amended     in any form, The
                                                           any reason whatsoever within three (3) CALENDAR days
 execution date of the contract by completing the                                                                      after the
                                                      Notice of Rescission /Cancellation on page 2.

                                                   DISCLOSURES REQUIRED BY ACT 21 OF 2012

The parties to this contract hereby acknowledge
                                                the following by initialing where indicated and signing below:
The insured has the right to rescind this contract
                                                   within THREE CALENDAR DAYS after signature.

                                                                 6/    v'Ppublicadjuster                    CP
                                                                                                        Insured
The fees charged by the public adjuster for services will
from the claim proceèds and not In addition to the
                                                                b.!
                                                              % of the amount paid by the Igsurer for the
                                                                                                           loss and will be paid
                                                    payments made             byte
                                                                         ipp,,urer.
                                                                                   -1 "-public   adjuster     insured
The public adjùster will provide the insured á copy
                                                    of the estimate or report of losses and, upon the insured's request;
adjuster will provide copies of any supporting documentation                                                             the public
                                                                the public ad' ster sends to the   ur r.           .. -




                                                                                        public adjustensured
The public adjuster is not   a   representative or an employee of the insurer. Th public adjuster I
Insurance Department.                                                                                         Independent licensee of the
                                                                             'Y -V public adjuster              insured
By signing below, the    parties agree to the terms stipulated in this contract:.
          (',,,caa

  vl
  V   .




Public Adjuster's


                                                                              j/
                                                                               Sigriaturelnsured'sSignature
                     n           /J
                    P[A P/                                                         -3-1A-41
Public Adjuster's Name and License Number
                                                                                Insured's Marne



                                                                                Address



                                                                                City State Zip




                                                                   JA00689
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                                               The Insurance Doctor, Inc.
                                                                                                     704 Lakeside Drive, Southampton, PA 18966
                                Office 609-385 -9440 * Fax 609-957 -5645   ` Toll   Free 1- 800-969 -6851 ` W WW.Insuránce0octorAdluster.corn
                                                                                                           info@ propertylossadviso rs.com


                                               NOTICE OF RIGHT TO RESCIND OR CANCEL

You, the Insured, may rescind (cancel) this contract at any time prior to midnight on
                                                                                         the THIRD (3rd) calendar day after the
execution date of this contract. If you exercise your right to cancel this contract, you will be liable for
                                                                                                            reasonable and necessary
emergency out -of- pocket expenses or services which were paid for or Incurred by
                                                                                       the public adjuster to protect your interests
during the period preceding cancellation. You should also provide notice of this contract
                                                                                              termination promptly to           your insurance
company.

If you cancel this contract, anything of value given by you
                                                              under the contract will be returned to you within fifteen (15) business
days following the receipt by the public adjuster of your
                                                             cancellation notice, and any security interest arising out of the contract
will be cancelled. To cancel this contract, mail, fax or deliver in person a signed
                                                                                    and dated copy of the following notice or any
other written notice indicating your Intent to cancel and. the date thereof to-The
                                                                                      Insurance Doctor Inc. at 704 Lakeside Drive,
Southampton PA 18966 not later than midnight of



                                        NOTICE OF RESCISSION/CANCELLATION OF CONTRACT




I   hereby rescind and cancel this contract.



Insured's Signature



Date




                                                                 JA00690
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                                             The Insurance Doctor, Inc.
                                                                                              704 Lakeside Drive, Southampton, PA 18966
                               Office 609-385-9446 * Fax 609- 957 -5645 *Toll
                                                                              Free 1-800-969-6851 * WW
                                                                                                         W.InsuranceDoctorAdiuster,com
                                                                                                    1   nfo @propertylossadvis ors,com




                            DISCLOSURE OF ADDITIONAL COMPENSATION AND/OR
                                                                         FINANCIAL INTEREST

                              (COMPLETE IF APPLICABLE -IF NOT, INSERT "DOES NOT APPLY"
                                                                                       BELOW)



The Public Adjuster hereby discloses
                                     and, by signing this contract, the Insured hereby agrees
compensation, commission or other things of value                                             to the public adjuster's receipt of
                                                    from the following person(s) engaged in the business of
replacement, renovation or demolition of damaged                                                              salvage, repair,
                                                       property:




The Public Adjuster hereby discloses that he or
                                                she has a direct or indirect financial Interest In the following persons or
that may be involved in providing services in conjunction with an                                                           entities
                                                                   aspect of the insured's loss:




                                               Public adjuster initials        Insured initials




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                               The Insurance Doctor, Inc.
                                              We have the Operation to
                                           MAXIMIZE your Insurance Claims




                                   Limited Power of Attorney




act and deed.
                       '
Known all men by these present, that I (we) do hereby constitute and appoint The
Doctor, Inc. My true and Awful a forpey, for me anid in my name, to endorse
& paperwork from           i         )4R.42-,/
of the claim arising from a loss dated S // h 4'
                                                                                    Insurance
                                                                              all checks, drafts,
                                               /1 t,Gz- insurance company; for or in settlement
                                                      , which was adjusted by The Insurance
Doctor Inc. and In which I am a co- payee. I hereby acknowledge that the above is
                                                                                    my voluntary




      <,
Signatu
                                                                            Signature




Print Namd                                                                  Print Name




Witnessed By:


  v n Pr7-d
Signature


 v(             PO} tel.




                                   704 Lakeside Drive, Southampton, PA 18966
  Office 609-385 -9446 * Fax 609 -957-5645 * Toll Free 1- 800-969
                                                                  -6851 * WWW,InsuranceDbctorAdluster.com
                                     info@propertylossadvisorS.com

                                                  JA00692
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           EXHIBIT HH




                            JA00693
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4'




                                                                                                                                                       1189 Draymore Ct,
                                  Radical
                                                 ..                                                                                                    Hummelstown a. 17036                         t                    '±;
                                  Renovations LLC
                                                                                                                                                       RIC th PA107566

                Dre;on,          1)sigu,fluiki                                                                                                         Phone: 610-504-9611


         Project Number              1055                                                  -- -   --            -:         ,---7.:   rH-r?       !-.   71:=".1 7 r:7.    7   n'i*P-!'

         Date                        1/12/2017       -    -             RR   Rep

                       ._,.              ,.

          ,........                                                                                                        ' " .... j. -----'*"-. ,
         Job Name          ...       Lincoln Motel                      ipiiÀddr.ess.,._                                    2z77 EinCein Hwy Feasterale-Treavose, Pa                                               19053
                                                                                            --"*
                                                                                                                                                                .
                                                                                                                 '+'

         Customer Name              Purvi Panawala
                                                                        -    .




                                                     ------- --         Customer A'ddreis
                                                                                     .        .        .   ,
                                                                                                                                                            -




                                                                                                                                                                                            ,   ......,
         Phone Nümbér               215-413-1754                    nr. tEnfälIPA'ddren                    r- n' TOT3ip-alfigeliftagiffairedfrr'l ''                                                    r."        -e,

         Description of services:All work will,be compIeted'astutlined,in theiollowingpaie(s).

         Demo and Job Site Clean-Up:

             Clean trash and tires surrounding property to satisfy public safety and housing code violations
             Remove.all-trip hazards
             Filkin;allipotholeswithystanding watenwith. crushed:gravel., ,v; H;, ;,..r,;,,-. -,.",;¡ -,9 .im,,nb ',hop: "FA                           i                                                      -,




             Painttemporary plywoocioverwindowsto match building colors
             Remove and dispose all remaining electrical, plumbing and interior walls, drywall, wood furring strips-and steel dóor frames as
                 per local building code requirements                                                                                                                                   .               .




             Maintain exterior of building and property during course of RBLIC's contracted work for 16 weeks Shours per week to keep
                  property in compliance with the Housing Code Administrator                                                                 .




             Equipment Rentals-High reach with forks for second floor material loading, loader with forks for unloading truck delivery's
                  and trash removal. Loader with bucket to grade parking lot
             Orange perimeter fence along road side



                                                                                         -
                                                                                                                                        .




         Notes: Exclusions-Dumpsters shall be provided and billed on an as needed basis andis.not lnduded in this contract

         Cost: $17,260.00                                           -..-         ,                             ,..     ,
                                                                                                                                                                                _
                                                                                                                                                                                                e




         Framing: All work shall be done per Bensalem Townships Building Codes anckianclaids

             Install 35/8" 20 gage studs and track on all unit ceilings on first floor
             Install 7/8" Hat Channel on all unit ceilings on second floor
             Install 3 5/8" 20 gauge studs and track for unit Interior walls
             Install   a   pipe chase over the entry door of all first-floor units
             Install   a   knee wall under unit vanities for pipe chase
             Install drywall suSpension grid for the-foyer ceiling
             Install   1 iS" Z     Furring on wood exterior walls
                                                                                          / EXHIBIT                        .




                                                                                         Ia Purvi -3t/
     Cost: $81,600.00                                                                                                                                               :.




                                                                                     cq.    ka it IS


     1



                                                                             JA00694                                                                                RADICAL RENOVATIONS 890
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                                                                                                                1189 Draymore,
                       Radical
                                                                                                                Hummelstown a. 17036
                       Renovations        LLC
                                                                                                                HIC #: PA107506

          ï )cram, Design, Build              r                                                                 Phone: 610 -504 -9611

                                                                                                                Email: eric @radicalrenovationsllc.com
    Description of services continued from previous page:
    Doors: All work and materials shall be done per Bensalem Townships Building Codes and Standards

        Locksets not Included on quote Frames drilled and tapped for closers                    1   Delivery included. Material to be skidded
        Non Rated doors and frames: 41 -SGL DW 16 WH 4 578 3070                       CRS KD   (ASA; Labor dimple face dw frm) 41-3070 1-3/4" WD
             COM     SS   NBRC   F   PC UNFIN 5 (BCL/L)   3/0 x 7/0 rotary natural birch unfinished, particle core, hinge routed, bored, for
             lockset
        123 -Hinges ECBB1100 4 1/2 x 1/2 U526D #075048 41 -Stop WB26 US32D
        90 minute rated doors and frames: -41-SGL -K 16. WH 4 13143070 CRS KD (ASA;- Labor .Reinf &Tap -Holes PACloser) -41-3070 -1-
            3/4 WD WH COM SC 9OPPNBRC'F FD UNFIN''51BCL/C) 3 /Ox7 /0rotary natural birch uhfinished;'Iïinge routed áhdbored
            for lockset and door viewer. Prepped for card lock (T.B.D.) Fire rated mineral core, 90 minute positive pressure rated.
            123 Hinges ECBB1100 41/2 x 4 1/2 NRP US26D #075049 41- Closer 7414 ARP Coy SNB1 689 41-DoorVelwer ULDV2Ó0 41-
            Stop WB26 US32D                       -                      .




        Stage" 82 frames, 82 doors and 41 closers to locations for Install. Install 82 metal frames (41 : 4;7/8" kndtk'dò vn'and
            41:12,1/4" knock down).  41 of these frames will be on the first floor and 41 will be on the second :floor. Install 82
             unfinished wood 3070 doors. 41 will be on the first floor and 41 will be on the second'fioor. Install closers on,41, 90 mi-
            nu'tèBre' fated 3070'woöd'doors using through boltstd1nstall théms' '

Notes: Card readers and hardware provided and Installed by owners.

Cost: $77,403.58

Drywall:

        All drywall to be 5/8" type       X

        Install drywall on walls and ceilings of          units
        Type
               .

               X   r-ywa, l   inalled
                                         ttaeïaidpaf              thró
                                                                             m
                                                                                 ip-pmch- e
                                                                                         s

        Install water resistant drywall on walls only of unit bathrooms (no drywall on ceilings)
        Install gypsum tile backer board at tub surround
        Install drywall on walls only in the corridors
        Install drywall on foyer walls and ceiling
        No drywall included in the stairwells, reception walls, office walls, office bathroom, corridor bathroom, laundry Room, Utility
            Room and Pantry

Cost: $110,200.00

Acoustical Ceilings:

        Install 2x2 flat ceilings tiles in 1" and 2nd floor corridors
        Install 2x2 Grid Stone ceiling tiles in unit bathrooms
        15/16" White suspension grid installed with #12 hanger wire                    In all ACT areas

Cost: $22,800.00




2



                                                                             JA00695                                    RADICAL RENOVATIONS 889
                    Case 2:18-cv-00822-WB Document 39-6 Filed 12/21/18 Page 22 of 88




                                                                                                                1189 Draymore,
                            R2dical
                                                                                                                Hummelstown a. 17035
                            Renovations LLC
                                                                                                                HIC #: 'PA107S06

                                                                                                                Phone: 610-504 -9611

                                                                                                                Email: eric @radicalrenovaticnsfc cori
          Description of services continued from previous page:-

          Scissors Jock Rental



          Plumbing: All work shall be done per Bensalem Townships Building Codes and Standards

          Waste -Water -Piping: Arrange.for all required permit related Inspections  -    <- :. -- :, -- :::....;:.:.,,»....:..,,_
              tsar f.;zra. ;í .:h: ry ..e,.e r                wi        :       r rr                           e _      _r
             Su IÇ' anainstali appropriately sized PVC waste water piping t6 each fixture as per spédfications on provided print ""
                                                                                                                                   _t..       tr
             Relocate drain linens as needed to accommodate new ceiling layout
              Properly vnt
                        e  all bathroom sinks as needed

          Freshr Water :PipingrProvide: and- arrangeforall requlred:permltrelated inspections. -

              Supply hot and cold    PEX    plastic water piping as reqúired   tó 'each fixture   as per   provided print or   as needed
            -50`01ratid' ihStálfneWsfil$-dffVälVesifi nalltbilëdrsInk'3,"ilici erstallS;túb'/          hôiiléi"áhitantiftiáfi'tubs''"              '
      '""PróGide'ánti` lnstá7PYdléf;'sh'oWeY' stäÌiroügh 1h'VälvësâNd
                                                                  '-                                                                           ftïëts only and
                    roman tub faùcets and trim kits.      -




          *Excluslons:.Vanity tops, sinks, roman tubs and water heaters..

          Bathroom Ventilation Systems:

              Provide and Install exhaust fans in each unit bathrooms to the existing central duct_that goes to the roof,
              Repair and seal existing venting ducting as needed

      Cost: $82,400.00

      HVAC:

...           Repaio.heatregisten and .celated.ductíng.as:needed.in. each: unit. bathroom....,,,......--,... .....,.;,...._.....-.,.,.,- ..nee....,,      _.,
              Alter supply air plenum to distribute air more efficiently
              Install afresh air intake sized as needed to satisfy code for fresh air to structure
              Insulate new ducting at Air Handler location

      Note: System shall be repaired to current configuration. Flex duct shall be used to connect to register boots and not fire dampers
      shall be installed.

      Cost: $3,360.00

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              15- "King rooms" on the first floor and 8- "King rooms" on the second floor. Each room will get                  a   L93; receptacle tó the left
                    and right of the bed,   a   receptacle for the PTAC unit, receptacle at the desk, receptacle for the            - V, receptacle at the lug-
                    gage bench, receptacle for the Fridge and Microwave, GFCI at the vanity, aswitch and customer supplied light at the Van-
                ,   ity, switches and customer supplied sconces on either side of the bed, switch and customer supplied surface mount light
                    above desk area, switch in bathroom for customer supplied light and exhaust fan and               a   switch for customer supplied sur-
                    face mount light at the entry.


      3



                                                                            JA00696                                       RADICAL RENOVATIONS 888
              Case 2:18-cv-00822-WB Document 39-6 Filed 12/21/18 Page 23 of 88




                                                                                                                 1189 Draymore,
                       Radical
                                                                                                                 Hummeistown a. 17036
                       Renovations LLC
                                                                                                                 HIC N: PA107506

           Drcaoi, Desi ;o i, Build            ...                                                               Phone: 610 -504 -9611

                                                                                                                 Email: eric @radicatrenovattós ^(}ry
                                                                                                                                                 .com
    Description of services continued from previous                        page-
                                                                           pag"
       2- "Double Queen rooms" on the second floor. Each room will get                        a USB/receptacle   to the left and right of the bed,     a   récepta-
              cle for the PTAC unit, receptacle at the table area, receptacle for the T.V., receptacle to the left of T.V., receptacle for the
              Fridge and Microwave, GFCI at the vanity, a switch and customer supplied light at the Vanity, switches and customer sup-
              plied sconces on either side of the bed, switch in bathroom for customer supplied light and exhaust fan and                        a   switch for
              customer supplied surface mount light at the entry._.
       2- "Double Queen suites"      on'the first floor and 2- "Double Queen suites" on second floor. Each room will get a USB/
              receptacle to the left and right of the bed, a receptacle for the PTAC unit, receptacle at the table area, receptacle for the
              T.V., receptacle at the desk, receptacle for the Fridge andtMicrowave, .GFCI at the vanity, a       and customer supplied
                                                                                                                                   switch




              light at the Vanity, switch and customer supplied sconce in between the beds, switch and customer supplied surface
              mount light above desk area, switchinbathroóm for customer supplied light and exhaust fan,                         a   switchfor custorer sup-
              plied surface mount light at the entry and wire çustorper.supplied fireplace.
       E   /C- WIII wire ],- "Kink Rite en,the,firg*PFr ágd.$c     ;Bing iteS ónsecend,.flgor ,Façh,room will get a, USB /Leceptaele to the
              left and   right of the bed, a receptacle for the PTAC unlit receptacle at the table area, receptacle for the T.V., receptacle at
              the desk, receptacle for the Fridge and Microwave, GFCI at the vanity,                 a    switch and customer supplied light at the Vanity,
              switch and customer supplied sconce In between the beds, switch and customer supplied surface mount light above desk
              area, switch in bathroom for customer supplied light and'exháust fan,                   a   switch for customer supplied surface r count light
              at the entry and wire customer supplied fireplace.
       2- "handicap King rooms" on the               first floor. Each room will get a   USB /receptacle     to the left and right of the bed,   a   receptacle
              for the PTAC unit, receptacle at the desk, receptacle for the T.V., receptacle to the right of T.V., receptacle for the Fridge
              and Microwave, GFCI in the bathroom, switches and customer supplied sconces on either side of the bed, switch in bath-
              room for customer supplied vanity light and exhaust fan and                 a   switch for customer supplied surface mount light at the
              entry.
       Runnlinesand        wire 2- healersson thefirst=flioir hàil aiidz=heaters óh the second =floor hall.' Heaters süppüed -by others:                       - "-
       Run lines and wire 22- customer supplied 2x2LED`lights and 12 >customersupplied sconces in                           the hall on the first and second
              floor.
                   wire 29- customer supplied recessed lights in the front reception area.
       Run lines and
       Emergency exit signs and emergency lights in hallways and common areas.
       4 -new   electrical panels on the first and second floor. E /C- Will provide temporary lighting and receptacles for use during con-
              struction.


       Notes:
       OPTIONAL-       E /C-   Will purchase and install 40- USB cables in 40-rooms, from the T.V..to.a USB jack in the wall, for customers to
              control the T.V. through     a   laptop or smart device. $2,500 not Included in final price.

              Exclusions: Phone lines to each unit room

              Cost: $108;000.00




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4



                                                                          JA00697                                        RADICAL RENOVATIONS 887
                Case 2:18-cv-00822-WB Document 39-6 Filed 12/21/18 Page 24 of 88




                                                                                                          1189 Draymore,

                                                                                                          Hummeistowi a.17036

                                                                                                          HICK: PÁ107506       '
            I )reaui, l`JSs!o,      E1ui1,C)                                                              Phone: 610 -504 -9611

                                                                                                          Email: eric @radicalrenovationsllé.com
     Description of services continued from previous page:

    Insulation: Provide and install proper insulation to meet current building codes

        R -38    FSK-faced    batts, 12" thick, at ceiling of lobby
        R   -19 Kraft -faced batts, 6" thick In all framed exterior walls
        Firestop (Hilt      FS-1)   and/or mineral wool at all interior wall penetrations of 6" or less

    cost:.$8,160.00....             ...._......      ._......._   ...   ._........

    Concrete and Block Patches:

        Cut out and replace all damaged block work around doorways
        Replace damaged block In all wall penetrations
        Repair specified holes in concrete flooring

    Cost: $9,200.00

    Trim:

        Install 6" crown and 6" baseboard trim in all 40 room units
        Install trim   as   needed for rooms with fire places
        Install shelving and rods for, clothes hanging areas

    Cost: $18,240.00

    Materials:

        Plumbing fixtures to include- toilets and seats, tub/shower bases (rough-in valves, trim kits), ADA shower bases (rough -in
            valves and trim kits) and sink faucets
        Moldings: baseboard and crown
        Shelving and rods for
                                                            .a    °-" -
                                                                        -
                                                                             -       -
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    Cost: $120,000.00

    Project Management Fees:

        Job site supervision        of all     sub-contractors listed above
        Job site meeting      with owners, designers and township code enforcement officers

I   Cost: $48,000.00




5



                                                                                     JA00698                       RADICAL RENOVATIONS 886
           Case 2:18-cv-00822-WB Document 39-6 Filed 12/21/18 Page 25 of 88




                                                                              1189 Draymore,
                 Radical
                                                                              Hummeistown a. 17036
                 Renovations LLC
                                                                              HIC #: PA107506

         Dwain, Design, Build                                                 Phone: 610 -504 -9611

                                                                              Email: eric @radicalrenovationsllc.com
    Description of services continued from previous pagë::"




     Total Project Cost    $728,983.58


     Estimated Time        5- 6months


         Terms are set as follows: 25% down, 25% due at the start of the project, 25% due upon completion          of,
         15% due-upon completion -of, 10% -due upon completion-of-project:-    -   _,:


         Project will begin approximately         days after this contract is executed with an approximate end

         date             weeks from the date this contract has been executed. A down payment of 25% of the

         "Total Project Cost" is expected at the time this contract is executed. Please note any "special Or-

         der" iteni(s) contained in the above quote.




6



                                                    JA00699                              RADICAL RENOVATIONS 885
                Case 2:18-cv-00822-WB Document 39-6 Filed 12/21/18 Page 26 of 88




                                                                                                  1:89 Draymore,
                     -Radical
                                                                                                  Hummelstown a. 17036      7-
                      Renovations LLC
                                                                                                  HIC #: PA107506

                              Piund                                                               Phone: 610-504-9611

                                                                                                  Email: eric@radicalrenovationslic.com


                                                          Terns and Conditions
    The following terms and conditions are set in placeto protect all                partieiriliatidTshetildthe née& ailise.
    Radical Renovations, LLC will supply, install, and construct all of the previously specified items in the con-
    tract.                                                                                                                                  ,




    All-Work will be constrUcted in accordenSWithlocal.codes. If codes change- during the Course of a Project
    thatrdifferiteni:WhatTASted inthe'Signétrebritraeti,l'Rediedl-RefidVátitireICW1114b116 WtheiltiCaiedde. If a
    change tes'ults in additional cost due to 6d changes, itis the réSPonsibility of the Client to cover the cost of
    the 'cheitgeS: Changes to the contract will appear on-a changeorder and mustbe sigited' by the clientand a
    repreSentative of Radical Renovàtions, LLC.
                                                                                                             a

    Payments:Wil ItethadeTbyt he client to. Radical Renovation sy LIC as_specified             thecontractff ata ny time
    dining the project Radical Renòvations,                       not receive-a payment kit the amount specified in the con-
                                                           LLC does

    tract, Radical Renovations,       LLC     retains the right to stop the project Ii                       If the project
    rrittit   be St6PPéd'fat feaStiri'cif riori4iaynientót iftlfe`dlidertretliiettS'aifunteliedüled              tuiptif Wórk,'Itadical
    Renovations,      LLC   will assess an addittrtal       5.2150.00 charge   before Work Will begin again. If at anytime during
    'or ;after the   project- payment not receivedRadical-RencivatiOns;LLC,Vvill exercise the right to-remove all
                                         is

    trietèfigsrihat Vit'été                  thé 'Cate Of iitni:payttientRadital Rentivatiblit-LLC alStYlia's the right to
                                                               '




    file for à judgment, lien, or Sheriff's lien against the client for compensation owed and 1.5% of the amount
    owed forevery 30 days past due,                          -    -                                                         .




    UnleSStacchangeorder Iras beerrprcipérlyexecuted-ithetotal-cost billed for the' project shaftnot-exceed 10%
           - -      -          -                              ,              - -    :
413iYie thb deollailValbe iridiCated in 'the previous section "De-script-Kin-6f SerVfces"
                                                                                                                                 ;   :-t!
    RIGHT OF RESCISSION: You, the dient, may cancel this transaction at any time prior to midnight of the third
business day after the date of this transaction. See attached "Netice of Cancellation" form for an explana-
tion of this right.


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                                                                   JA00700                               RADICAL RENOVATIONS 884
        Case 2:18-cv-00822-WB Document 39-6 Filed 12/21/18 Page 27 of 88




                                                                               1189 Draymore,
               Radical
                                                                               Hummelstowna.17036
               Renovations LLC
                                                                               HIC #: PA107506

      Iketuil, Drsinn, Build   .,                                              Phone: 610 -504 -9611

                                                                               Email: eric @radicairenovationsllc.com


                                                     Warranty
                                                         äÌn{.y
     Warranty coverage specifications;
     Warranty effective date:
     Warranties are issued to the Client and are none transferable.
     Flooring products may carry    a   manufacturer's warranty: Radical Renovations will warranty any problems
    that were á direct,result of improper ,iinsta,Ilatjón,fgr.ggeyeär from,thG,abovespeçjfied, däte, iärlicál,;,
     Renovations will;warranty all adhesive and thin set products for one year from above specified date.
    rRadical ,Renovations will-warranty all constructiomwork,for-one year;from the,warranty effectivepdate,
      This warranty covers product and construction. Product warranties from manufacturers are extended to
      client and will be honored. If product warranty extends past the expiration date of the warranty from
      Radical Renovations then the manufacturer's .warranty applies only to the damaged parts. Labor to re-
r    ,placethe product will be billed to the client at the current hourly rate. It is the client's responsibility to
      claim reimbursement from the manufacturer.,
    Pressure treated lumber and exotic woods: Due to the nature of these building materials Radical Reno-
    vations cannot warranty these products after product installation.
    Warranty only covers problems that area direct result of product: failure due to installation issues. These
    issues will be determined at the time a- representative comes to the job site. Radical Renovations does
    not warranty any damages or problems that occur due to normal wear and tear, strenuous conditions
    outside the normal tolerances for the product and installation, and product' failure due to consttrúction
    related problems that are outside our scope of work on the project. TitweilTbr eTerriaérl ÿ'à repré-
    sentatiye,from Radical Renovations.; If the client.wishes,to cóntract,änother contractor to,dgsaldrrepairs
    Radical Renovations LLC will not be held accountable for payment unless signed off on by one of the co-
    operate officers from Radical Renovations. If a third party is requested Radical Renovations retains the
    right to select and contract out the third party representative. If the third party finds no fault with Radi-
    cal Renovations then client becomes liable for all expenses that Radical Renovations LLC absorbed to
    resolve matter. Payment will be required upon delivery of invoice.


    By signing   I                                   (client) agree to the above contract, warranty, and
    terms and conditions. By signing this becomes legally binding.


    Client Signature:                                                                  Date   _\              \2017



    Radical Renovations Rep:                                                             Date          \        \2017




                                                    JA00701                            RADICAL RENOVATIONS 883
                   Case 2:18-cv-00822-WB Document 39-6 Filed 12/21/18 Page 28 of 88




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                                                                                                                      1189 Draymore,

                                                                                                                      Hummelstown      a.   17036
                       Renovations LLC
                                                                                                                      HIC #: PA107506'
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                                                                                                                      Email eric@radicalrenovationslIc.corn


                                                               Arbitration Notice.

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      ALL QLAINIAND.DISPUTESAARISINGUNDER,ORAELATING TO.THIS AGREEMENTARET,0,,BESETTLED.BY;
      BINOIWARKERATIONAN THE STATE or PENNSYLVANIA OR ANOTHER LOCATION MUTUALLY AGREEABLE
      TO ALL PARTJES,0THCABBITRATION.SHALL.BECON,DMIKIONAtMEIOgNBALAASIS,PORSUANTIOTHE
      COMMERCIAL ARBITRATION RULES OF THE AMERICAN ARBITRATION ASSOCIATION. ANY DECISION OR
      AWARD AS,AtESULTS RNY SUCH ARBITXATIONAOÇEERING SHALI.13,4,            ANOHALL PRO:
      71.6E   ÊXPIANATISWFOW-All otikl.ljSkiNS OF LAW-AND;WAINiD SHALL INCED-EYHE 41i.gSSliWENT
      OF COSTS AND EXPENSES. ANY SUCH ARBITRATION SHALL BE CONDUCTED BY AN ARBITRATa                                                                 Sat:
      ENCED IN HOME IMPROVEMENT AND SHALL INCLUDE A WRITTEN RECORD, OF THE ARBITRATION HEARL
      ING. THE PARTIES RESERVE THE RIGHT TO OBJECT TO ANY INDIVIDUAL WHO SHALL BE EMPLOYED BY OR
      AFFILIATED WITH A COMPETING ORGANIZATION OR ENTITY. AN AWARD OF ARBITRATION MAY BE CON-
      FIRMED IN A COURT OF COMPETENAT                        Jusiknotoh:




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                                                                          JA00702
                                                                                                                               RADICAL RENOVATIONS 882
           Case 2:18-cv-00822-WB Document 39-6 Filed 12/21/18 Page 29 of 88




                                       NOTICE OF CANCELLATION


 DATE OF EXECUTION OF CONTRACT:

 You may cancelthis tránsäctión;"'without any penalty or obligation,   within three (3) business days from the above date.

 If you cancel, any.property traded in, any payments made by you under the contract or sale, and any negotiable instru-
 ment executed by you will be returned within ten (10) business days following receipt by the contractor /seller of your
 cancellation notice, and any security interest arising out of the transaction will be cancelled.

 If you cancel, you must make available to the contractor /seller at your residence in substantially as good condition as
 when received, any goods delivered to you under this contract or sale; or you may, if you wish, comply with the in-
 structions of the contractor /seller regarding the return shipment of the goods at the seller's expense and risk.

 If you do make goods available to the contractor/seller and the contractor/seller does not pick them up within twenty
 (20) days.of.thedate of-younnotice- ofeancellation,-yoù mayretaimor d ispose of the'goods without- anyfurther obliga-
tion. If youhil tó rriákë the góotis avaiiablétó'the coriträètör%seller, or if you agree.tó.rétü.nthe goods tö tl ë cöntrac-
tor /sellerand fall do so, then Ow remain liable for performance of all obligations under the contract.'
Tö cancèi this transactión,`maif o? del(ver a signed änd data: copy of this cancellation notice or any öther written ñó-
                             .,         is .


tice, or send a telegram, to Radical Renovations, ,LLC at 1189 Draymore Court, Hummeistown, PA 17036 not later than
midnight of

     hereby cancel this transaction:


Date                                               Signature of Client
 ****************************************************************************************

Date                                                       Client's Name (Printed)




                                                           Client's Signature




Date                                                       Representative of Radical Renovations,      LLC

                                                                    (Printed)




                                                           Representative of Radical Renovations,      LLC
                                                                 Signature




10


                                                       JA00703                              RADICAL RENOVATIONS 881
                            Case 2:18-cv-00822-WB Document 39-6 Filed 12/21/18 Page 30 of 88




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                                                                                                                                                                                                       1.                               -
                                                  Radical
                                                                                                                                                                                      Hummelstowna. 17036--
                                                  Renovations LLC
                                                                                                                                                                                  HICP: PA107506
                             Dream, Dt:igu, Build                                                                           -                                                     Phone: 610-504-9611
                                                                                                            3 -.4   '..17   1, .13



                ProjeetNumber                             1055               .                               -                                                                                                  ---                 -       .           -

                Date                                      2/10/2017                                                 RR Rep                           Dan Hahn                                                                  ..
                .. ..       ..                                                                                          .   ,   ..                                                                          .         ..
                                                                                                                                                                                                                           '

                                                                                                                                                                                                                                                .   .




                lob Name                                  Lincoln Motel                                             lob Address                      2277 Lincoln Hwy Feasterville7Treavose, Pa 19053


    ,   _       Custettner Name, Jarpes,Markarian                                                                   Customeadagss,               ,   ,       _.           ,, _, ,,,,
                                                                                                                                                                                  ,
                                                                                                                                                                                                                                        -..
                Phone Number                              617-803-9106                                              Email Address                    jim@themsrkarians.com

                Description of services: All work will be completed                                                                 as   outlined in the following page(s)

                Demo and nib Site Clean-Up: "                                                                                                                 '



                        Clean trash and tires surrounding property to satisfy public safety and housing code violations

                        Remove all trip hazards
                        ,    ..



                        110           In all   pot holes with standing water with crushed gravel
                        Paint temporary plywood over windows to match building colors
                        Remove end dispose ,all remaining electrical, plumbing and interior walls, drywall, wood furring strips and steel door frames                                                                                                       as
                        per local building code requirements

                        Maintain exterior of building and property during course of RRLIC's contracted work for 16 weeks 5hours per week to keep
                        property In compliance with the Housing Code Administrator
                        Equipment Rentals-High reach with forks for second floor material loading, loader with forki for unloadinnruck delivery's
                        and trash removal. Loader with bucket to grade parking lot

                        Time to grade parking lot as per township                                                                                                                             ,



I               4       liouisaiready,putln for.helping.inovingfuraituce, loading truck5,..etc.,                                                         .        .   .   ..   ....       -   a    .




                        Install and maintain orange perimeter fence along road side for duration of RRLLC construction
                Notes: ExclusionsDumpsters shall be provided and billed on an as needed basis and is not included in this contract and gravel
            will be purchased and billed In addition to this contract
            Cost: $20,710.00 ($6,900 demo, $3,600 backhoe equipment fee, $2,560 additional rentals, $650.00 fencing, $7,000.00 Labor for
            parking lot, clean up, moving furniture and bids, meeting with people to take furniture, and maintenance labor)

                        Demo tile/thin set In 3900sf first floor rooms and lobby. Demo tile/thinset in designated rooms in second floor

            Cost: $5,940.00
                                                                                            .                                                                                                 .
                                  .    .

            Vanity panels:                                                                  .
                                                                                                   -
            Manufacture panels for vanities                                               @ 40.00each

            Cost:        $3,2tab                   ....    ,   .   -..   ,       ,-, ,.,                -   .,                       .               .                                .




            Installation of panels $15.00 per pane
            Cost: $1,200.00

                                                                                                                                /          EXHIBIT                                                                                                          .   _


            1




_                                      ...,...             .....                 ..                                    JA00704
                                                                                                                             _ tl               zi ig                                             RADICAL RENOVATIONS 7 9
               Case 2:18-cv-00822-WB Document 39-6 Filed 12/21/18 Page 31 of 88




                                                                                                                           1189 Draymore,
                         Radical
                                     ........   ......                                                                     Hummelstown            a.   17036   -
                         Renovations            LL(i
                                                                                                                           HIC #: PA107506

             Dream, De;igii,]Sui(d:.:               ,,.                                                                    Phone: 610-504-9611

                                                                                                                           Email: eric @radicalrenovationsllc.com
    Description of services continued from previous page:_,

    Doors: All work and materials shall be done per Bensalem Township Building Codes and Standards

           Locksets not included on quote Frames drilled and tapped                         for closers 1 Delivery included. Material to               be skidded.,
           Non Rated doors and frames: 40-SGL DW 16 WH 4 578 3070                             CRS KD   (ASA; Labor dimple face dw frm) 41- 30701 -3/4" WD
           COM SS NBRC      F   PC   UNFIN 5 ( BCL/L) 3/0 x 7/0 rotary natural birch unfinished, particle core, hinge routed, bored for lockset
           121; Hingés;ECBB1100A1           /211/ZUS26D_q 075048416Stop.W,B16A1532D...a: .c+i_,fi:
           90 minute rated doors and frames: 40-SGL  K 16 WH 4 1314 3070 CRS KD'(ASAriabor Réinf &Tap Holes PACldser) 41: 30701

           3/4 WD WH COM SC 90PP NBRC F FD UNFIN 5 (BCL/L) 3/0 x 7/0 rotary natural birch.unfinlshed; hinge routed-and bored for
           lockset and doorviewer. Prepped for card lock (T.B.D.) Fire rated mineral core, 90 minute positive pressure rated. 123 Hinges
           ECBB1100 41/2 x 41/2 NRP US26D #075049 41- Closer 7414 ARP COV SNB1689 41- DoorVeiwer ULDV200 41 -Stop WB26
           US32D
           Stage* 82 frames, 80 doors and 40 self closing hinges to locations for install. Install 80 metal frames (41: 4,7/8" knock
       "   áoWn`and 41:12)1 /4 "khock'döwn):40 -óf thësëfrämeritlll 'bëórîthë'fitSt'fiöôï'áhä40Will' bëdri "the'secorïd'fldôr;0is`tall80
           unfinished wood 3070 doors. 40 will be on the first floor and 40 will be on the second floor: Install closers on 40,'90 minute
           fire rated 3070 wood doors using through bolts to Install them.

           Order doors prefinished In "DARK BROWN"

    Notes: Card readers and hardware provided and instálled.byowners.

    Cost: $86,653.58

    Drywall:

           All drywall to be 5/8" type          X

           Install drywall on walls and ceilings of all units exclddes 2nd floor ceilings                                                                .




           Type X drywall installed on the inside of the bathroom pipe chase
                                                                                                       .«,-Nano......             m....,.,... ... ................   ...,,...,   ,.
           Install water resistant drywall on walls only of unitbathrooms (no drywall on ceilings)                           -N




           Install gypsum tile backer board at tub surround
           Install drywall on walls only in the corridors
           Install drywall on foyer walls and ceiling
           Patch popcorn ceilings on 2nd floor
Notes: No drywall included in the stairwells, reception walls, office walls, office bathroom, corridor bathroom, laundry Room, Utili-
ty Room and Pantry
Cost: $110,200.00
                                                am.-.rtlh.-rrve    ..eNtn ynlTr                      iv: .wRGt   IrS    nMP.- eac         r-.-..t:.
Acoustical Ceilings:

           Install 2x2 flat ceilings tiles in       lit and 2 "d floor corridors
           Install 2x2 -Grid Stone ceiling tilesrin unit bathrooms           -N   .   ,_.        -


           15/16" White suspension grid Installed with 4412 hanger wire in all ACT areas.

Cost: $22,800.00



2




                                                                                  JA00705
                                                                                                                                        RADICAL RENOVATIONS 748
              Case 2:18-cv-00822-WB Document 39-6 Filed 12/21/18 Page 32 of 88




                                                                                                             1189 Draymore,
                            Radical
                                                                                                             Hummelstown    a.   17036
                            Renovations LLC
                                                                                                             HIC N: PA107506

            Dream, Desi;gi, Build                                                                            Phone: 610 -504 -9611

                                                                                                             Email: eric @radicalrenovatfonsllc.com
    Description of services continued from previous page:

    Scissors Jack Rental: Cost: $4,600.00

    Plumbing: All work shall be done per Bensalem Townships Building Codes and Standards

    Waste Water Piping: Arrange for all required permit related Inspections

          Supply and install appropriately sized:PVC waste water piping to each fixture as per specifications on provided print
           Relocate drain linens as needed to accommodate new ceiling layout
          .Properly vent all bathroom sinks            as   needed --   ,



    Fresh Water Piping: Provide and arrange for all required permit related inspections

          Supply hot and cold        PEX    plastic water piping as required to each fixture as per provided print or as needed
          Supply and Install new shut -off valves on all toilets, sinks, shower stalls, tub/shower unit and roman tubs
          Provide and -Install toilets, shower stall rough -in valves and trims, tub /shower rough -in valves and trims, sink faucets only and
          roman tub faucets and trim kits.

    Notes: Exclusions -Vanity tops, sinks, roman tubs and water heaters

Bathroom Ventilation Systems:

          Provide and install exhaust fans in each unit bathrooms to the existing central duct that goes to the roof
          Repair and seal existing venting ducting as needed

Cost: $82,400.00

Add floor drains for Jacuzzi rooms (requires jack hammering floor): $400.00 each = $1,600.00 total

HVAC:

          Repair heat register and related ducting as needed In each unit bathroom
          Alter supply air plenum to distribute air more efficiently
          Install   a   fresh air intake sized   as   needed to satisfy code for fresh air to structure
          Insulate new ducting at Air Handler location

Note: System shall be repaired to current configuration. Flex duct shall be used to connect to register boots and not fire dampers
shall be Installed.

Cost: $3,360.00

Electrical: Electrical contractor will provide all labor and material unless otherwise noted below.

      .   15- "King rooms" on the first floor and 8- "King rooms" on the second floor. Each room will geta USB /receptacle to the left
          and right of the bed,       a   receptacle for the PTAC unit, receptacle at the desk, receptacle for the T.V., receptacle at the luggage
          bench, receptacle for the Fridge and Microwave, GFCI at the vanity,              a   switch and customer supplied light at the Vanity,
          switches and customer supplied sconces on either side of the bed, switch and customer supplied surface mount light above
          desk area, switch In bathroom for customer supplied light and exhaust fan and a switch for customer supplied surface mount
          light at the entry.

3




                                                                            JA00706                                   RADICAL RENOVATIONS 747
       Case 2:18-cv-00822-WB Document 39-6 Filed 12/21/18 Page 33 of 88




                                                                                                             1189 Draymore,
                 Radical
                                                                                                             Hummelstown a. 17036
                 Renovations LLC
                                                                                                             HIC #: PA107506

     Dream,     J.)e.4i3O,-J31tiJd   ....::.:.                                                               Phone: 610-504 -9611

                                                                                                             Email: eric @radlcalrenovationsllc.com
Description of services continued from previous page:..:                                    ..1      .   r   .....::.....   .




   2- "Double Queen rooms" on the second floor. Each room will get a USB/receptacle to the left and right of the bed, a.recepta-
   de for the PTAC unit, receptacle at the table area, receptacle for the T.V., receptacle to the left pf T.V., receptacle for the
   Fridge and Microwave, GFCI at the vanity,          a    switch and customer supplied light at the Vanity, switches and customer supplied
   sconces on either side of the bed, switch in bathroom for customer supplied light and exhaust fan and                           a    switch for customer
   supplied surface mount light at the entry.
                                           _...                                                                                 .....
   2- "Double Queen suites" on the first          floor and 2- "Double Queen suites" on second floor.                 Each room will g'eYa^Û56J.             ..»-   ;



   receptacle to the left and right of the bed,        a   receptacle for the PTAC unit, receptacle at the table area, receptacle for the T.V.,
   receptacle at the desk, receptacle for the Fridge and Microwave, GFCI at the vanity,                      a   switch and customer supplied light at
   the Vanity, switch and customer supplied sconce In between the beds, switch and customer supplied sürfäcë mount light
   above desk area, switch In bathroom for customer supplied light and exhaust fan,                      a   switch for customer suppliedsurface'
   mount light at the entry and wire customer supplied fireplace.
   E/C- Will wire 1- "King suite" on the first floor and 8- "King suites" on second floor. Each room will get a USB/receptacle to the

   left and right of the bed, a receptacle for the PTAC unit, receptacle at the table area, receptacle fòr the T.V., receptacle at the
   desk, receptacle for the Fridge and Microwave, GFCI at the vanity,               a   switch and customer supplied light at the Vanity, switch
   and Customer supplied sconce in between the beds, switch and customer supplied surface mount light above desk area,
   switch in bathroom for customer supplied light and exhaust fan,              a   switch for customer supplied surface mount light at the
   entry and wire customer supplied fireplace.
   2- "handicap King rooms" on the first floor. Each room will get a USB /receptacle to the left and right of the bed, a receptacle
   for the PTAC unit, receptacle at the desk, receptacle for the T.V., receptacle to the right of T.V., receptacle for the Fridge and
   Microwave, GFCI In the bathroom, switches and customer supplied sconces on either side of the bed, switch In bathroom for
   customer supplied vanity light and exhaust fan and a switch for customer supplied surface mount light at the entry.
   Run lines and wire 2- heaters on the first-floor hall and 2- heaters on the second -flöor hall. Heaters supplied by others.
   Run lines and wire 22- customer supplied 2x2 LED lights and 12- customer supplied sconces In the hall on the first aridísecond
       floor.
   Run lines and wire 29- customer supplied recessed lights in the front reception area.
   Emergency exit signs and emergency lights In hallways and common areas.
   4 -new electrical panels on the first and second floor. E /C- Will provide temporary lighting and receptacles for use during con-
   struction.
       Exclusions: Phone lines to each unit room
                                                                                                                                          ..   _....   _..
   Notes:
   OPTIONAL- E/C- Will purchase and Install 40- USB cables In 40- rooms, from the T.V. to a USB Jack in the wall, for customers
       to control the T.V. through a laptop or smart device. $2,500 not Included                  in final price. Voice only Jines.to:rooms,add,
       $150.00 per room. $780.00 to change doorway switches in rooms already completed. $960.00 for turning on customers
       power because Peco would not do It due to customer owning transformer.

       Cost: $108,000.00




                                                                    JA00707                                             RADICAL RENOVATIONS 746
         Case 2:18-cv-00822-WB Document 39-6 Filed 12/21/18 Page 34 of 88




                                                                                                       1189 Draymore,
                     Radical
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                     Renovations LLC
                                                                                                       HIC f!: PA107506

        Dream, IDesigu, Build                                                                          Phone: 610 -504 -9611

                                                                                                       Email: eric @radicalrenovationslic.com   ,




Description of services continued from previous page:
                                                                                            1




Insulation: Provide and install proper insulation to meet current building codes            1




     R-38 FSK-faced      batts, 12" thick, at ceiling of lobby
     R -19   Kraft-faced Batts, 6" thick In all framed exterior walls
     Firestop (Hilt    ES -1)    and/or mineral wool at all interior wall penetrations of 6" Sr less

Cost: $8,160.00

Concrete and Block Patches:

    Replace damaged block in all wall penetrations
    Repair specified holes in concrete flooring

Cost: $7,200.00

    Cut out and replace all damaged block work around doorways
Cost: $2,000.00

    Fill door frames     with block work

Cost: $600.00

Total Cost: $9,800.00

Trim:

    Install 6 "crown in bedroom and around fireplace
    Install   1   6" valance per room anchored into ceiling
    Install   2   shelves,   1   hanging bar per room, and   1   cap shelf for closet top

Cost: $18,240.00

Materials:

    Plumbing fixtures to include- toilets and seats, tub /shower bases (rough -in valves, trim kits), ADA shower bases (rough -in
    valves and trim kits) and sink faucets, bathroom vent fans
    Moldings: 6" crown, valance fasteners,           lx for curtain   hangers, fasteners for panels
    Radius curtain rods          for showers
    Shelving, cap shelves, and rods for clothes hanging

Cost: $117,902.03

Project Management Fees:

    Job site supervision of all sub -contractors listed above
    Job site meeting with owners, designers and township code enforcement officers

Cost: $48,000.00




                                                                      JA00708                                  RADICAL RENOVATIONS 745
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                                                                                              1189 Draymore,
                   Radical
                                                                                              Hummelstown      a.   17036   ... -..   .. -
                   Renovations LLC
                                                                                             HIC   H:   PA107506
      llre:un, hr,,igp,,13ui11,                                                              Phone: 610 -504-9611

                                                                                             Email: eric @radlcalrenovationsllc.com
Description of services continued from previous page:

Framing: All work shall be done per Bensalem Townships Building Codes and Standards

    Install 3 5/8" 20 gage studs and track on all unit ceilings on first floor
   'Irittall7 /8" Hat Channel on   all walls   l''ri   rooms and hallways
    Install 3   5/8" 20 gauge studs and track for unit Interior walls
    Modlfy.doorways to straighten for metal.. lathing
    Install drywall suspension grid for'the foyer ceiling
    Install 1)4'1Z Furring on wood exterior walls
   ÀBdèd fráming to äceodn för wáÌ1 cnánges
                                                       _r ..   ......   ..


    Add 1 Install 7/8" Hat Channel on all unit interior walls and corridor walls
Cost: $81,600;00
Added lobby bump out framing: $1,800.00
Frame Fireplaces: $156.00 each




 Total Project Cost

 Estimated Time




     Terms are set as follows: Due to the size of' the 'project and complexity of the project with multiple

     trades working at one time RRLLC will invoice Client on the 1st and the 15th of the month. This will

     continue as long as the above work is in progress. Payments will be based on the percentage of com-

     pletion on those dates and due 5 business days after invoices are received by Client. A down payment

     of $for materials plus 10% of the balance of the contract for $at the signing and execution of this con-

     tract.

     Project will begin approximately                             days after this contract is executed with an approximate end

     date                  weeks from the date this contract has been executed. All Change orders will be paid

     in full upon approval by Client.




                                                                   JA00709                               RADICAL RENOVATIONS 744
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                  Radical
                                                                                              Hummelstovin a. 17036
                  Renovations LLC
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         ()ream, Design, Build                                                                Phone: 610-504-9611

                                                                                              Email: eric @radicalrenovationsllc.com.


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The following terms and conditions are set in place to protect all parties involved should the need arise.
Radical Renovations, LLC will supply, install, and construct all of the previously specified items in the con-
tract.

All work will be constructed in accordance with local codes. If codes changeduring the course of                             a   project
that differ from what       is listed in   the signed contract, Radical Renovations,          LLC   will follow the local code. If a
change results In additional cost due to code changes, it is the responsibility of the client to cover the cost of
the   changes. Changes to the contract will appear on               a   change order and must be signed by the client and               a

representative. of Radical Renovations,             LLC.

Payments will be made by the client to Radical Renovations,                   LLC as   specified in the contract. If at any time
during the project Radical Renovations,             LLC    does not receive   a   payment for the amount specified In the con-
tract, Radical Renovations,       LLC   retains the right to stop the project until payment             is   received.   If the project
must be stopped for reason of non - payment or if the client requests an unscheduled stop of work, Radical
Renovations,       will assess an additional $250.00 charge before work will begin again. If at any time during
                  LLC

or after the project, payment is not received, Radical Renovations, LLC will exercise the right to remove all
materials that were not paid for.           In   the case of non- payment, Radical Renovations,              LLC   also has the right   to
file for a judgment, lien, or sheriff's lien against the client for compensation owed and 1.5% of the amount
owed-for every -30 -days past due.

Unless    a   change order has been properly executed, the total cost billed for the project shall not exceed 10%
above the dollar value indicated in the previous section "Description of Services ".

RIGHT OF RESCISSION: You, the client, may cancel this transaction at any time prior to midnight of the third
business day after the date of this transaction. See attached "Notice of Cancellation" form for an explana-
tion of this right.




                                                              JA00710                                  RADICAL RENOVATIONS 743
  Case 2:18-cv-00822-WB Document 39-6 Filed 12/21/18 Page 37 of 88




                                                                                 -1189 Draymore,
            Radical
                                                                                 Hummelstown    a.   17036         -'

            Renovations LLC
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 1)rearn, I)esigii,,,lhiiltl                                                     Phone: 610- 504.9641:

                                                                                 Email: eric @radicalrenovationsllc.com


                                                         /arrant)/
Warranty coverage specifications;
Warranty effective date:
Warranties are issued to the Client and are none transferable.
Flooring products may carry a manufacturer's warranty: Radical Renovations will warranty any problems
                                                                    ..._. ...
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that were a direct result of improp-e instálÌátiör forór'è ÿèa!artrom   the abövë 4pécifiëd dafêi Radicäl
                                                                         r   ò




Renovations will warranty all adhesive and thin set products for one year from above specified date.
Radical Renovations will warranty all constrùctiön work for cine ye-ar from the warranty effective date.
This warranty covers product and construction.Product warranties from manufacturers are extended to
client and will be honored. If product warranty extends past the expiration date of the warranty from
Radical Renovations then the manufactùrer's warránty applies ónly'to the damaged parts. Labor to re-
place the product will be billed to the client at the current hourly rate. It is the client's responsibility to
claim reimbursement from the manufacturer.
Pressure treated lumber and exotic woods: Due to the nature of these building materials Radical Reno-
vations cannot warranty these products after product installation.
Warranty only covers problems that are a direct result of product failure due to installation issues. These
issues will be determined at the time a representative comes to the job site. Radical Renovations does
not warranty any damages or problems that occur due to normal wear and tear, strenuous conditions
outside the normal tolerances for the product and installation, and product failure due to construction
related problems that are outside our scope of work on the project. This will be determined by a repre-
sentative from Radical Renovations. If the client wishesto contract another contractor to do said repairs
Radical Renovations LLC will not be held accountable for payment unless signed off on by one of the có-
operate officers from Radical Renovations. If a third party is requested Radical Renovations retains the
right to select and contract out the third party representative. If the third party finds no fault with Radi-
cal Renovations then client becomes liable for all expenses that Radical Renovations LLC absorbed to
resolve matter. Payment will be required upon delivery of invoice.


By signing    I                                             (client) agree to the above contract, warranty, and
terms and conditions.          By signing   this becomes legally binding.


Client Signature:                                                                       Date           \       \2017


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                                                      JA00711                            RADICAL RENOVATIONS 742
     Case 2:18-cv-00822-WB Document 39-6 Filed 12/21/18 Page 38 of 88




                                                                             1189 Draymore,
            Radical
                                                                             Hummelstown    a.   17036
            Renovations LLC
                                                                             HIC ä: PA107506

    Dream, Design, Build                                                     Phone: 610 -504 -9611

                                                                             Email: erlc @radicalrenovationsllc.com



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ALL CLAIMS. AND DISPUTES ARISING UNDER OR RELATING TO THIS AGREEMENT ARE TO BE SETTLED BY
BINDING ARBITRATION IN THE STATE OF PENNSYLVANIA OR ANOTHER LOCATION MUTUALLY AGREEABLE
TO ALL PARTIES.. THE ARBITRATION SHALL BE CONDUCTED ON A CONFIDENTIAL BASIS PURSUANT TO THE
COMMERCIAL ARBITRATION RULES OF THE AMERICAN ARBITRATION ASSOCIATION; ANY DECISION OR
                                     n
                      ... SUCH ARBITMTIOR
AWAHD,ASA RESULT OF ANY         ....      PP.00E C QII`JG SHALL BE IN WRITING AND SHAIrI PRO-
    AN EXPLANATION FOR ALL CONCLUSIONS OF LAW AND FACT AND SHALL INCLUDE THE ASSESSMENT
OF COSTS AND EXPENSES. ANY SUCH ARBITRATION SHALL BE CONDUCTED BY AN ARBITRATOR EXPERI-
ENCED IN HOME IMPROVEMENT AND SHALL INCLUDE A WRITTEN RECORD OF THE ARBITRATION HEAR-
ING, TH! PABT.IES RESERVE THE RIGHT TO OBJECT TO ANY INDIVIDUAL WHO SHALL RE EMPLOYED BY OR
AFFILIATED WITH A COMPETING ORGANIZATION OR ENTITY. AN AWARD OF ARBITRATION MAY BE CON-
FIRMED IN A COURT OF COMPETENATJUSISDICTION.




9




                                              JA00712                                RADICAL RENOVATIONS 741
         Case 2:18-cv-00822-WB Document 39-6 Filed 12/21/18 Page 39 of 88




                                        NOTICE OF CANCE.LLATI.ON.


 DATE OF EXECUTIONOF CONTRACT:

you:may cancèfthis.transactfon, w[thout any.penalty òr otillgattioQ           t)?jikt ,ge.,01 business days from the   abao   .   atp.

 If you cancel, any property traded in, any payments made by you under the contract or sale, and any negotiable instru-
 ment executed by you will be returned within ten (10) business days following receipt by the contractor /seller of your
 cancellation notice, and any security interest arising out of the transaction will be cancelled.

If you cancel,. you must make available to.the contractor/seller at your residence in substantially as good condition             as
when received, any goods delivered to you under this contract or sale; or you may, If you wish, comply with the in-
structions Of the contractor/seller regarding the return shipment of the goods at the seller's expense and risk.

If you do'make goods avallableto the contractor/seller and the contractor/Sellerdbesntitpick'therìl npwl hintwenly
(20) days of the date of your notice of cancellation, you may retain or dispose of the goods without any further obliga-
tión. If you fail to make the goods available to the contractor /seller, or if you agree tó retürrì the goods to the cóñtrac-
tor/seller and fail to do so, then you remain liable for performance of all obligations. under the.eontract.
To cancel this transaction, mail or deliver a signed and dated copy of this cancellation notice or any other written no-
tice, or send   a   telegram; to Radical Renovations,   LLC   at 1189 Draymore Court, Hummelstown, PA 17036 notlater than
midnight of

I    hereby cancel this transaction.


Dàte                                                    Signature of Client
                                                                   *****x**************************************


Date                                                             Client's Name (Printed)




                                                                 Client's Signature




Date                                                             Representative of Radical Renovations,      LLC

                                                                        (Printed)




                                                                 Representative of Radical Renovations, LLC
                                                                       Signature




10



                                                          JA00713
                                                                                                 RADICAL RENOVATIONS 740
Case 2:18-cv-00822-WB Document 39-6 Filed 12/21/18 Page 40 of 88




             EXHIBIT II




                            JA00714
                      Case 2:18-cv-00822-WB Document 39-6 Filed 12/21/18 Page 41 of 88
                                     BENSALEM TOWNSHIP                            E-MAIL SUBMIT
                                                    Building and Planning Department
                                                       2400 Byberry Road x Bensalem, PA 19020
                                                       Office 215-633-3644 x Fax 215-633-3753
                                                                              TAX PARCEL #
                                                Uniform Construction Code (UCC)
                          Application For Commercial Building Permits 02-
                            ELECTRONIC FORMAT ONLY REQUIRED                   Permit #
                                                                              Date
         SUBMIT APPLICATION AND PLANS ON DISC OR VIA EMAIL AT permitcenter@bensalempa.gov
 ALL PLANS ARE REQUIRED TO BE SIGNED & SEALED BY A PENNSYLVANIA LICENSED DESIGN PROFESSIONAL
PART I       Project Name: Lincoln Motel                             Lot #:
BUILDING     Street Name & No.: 2277, Lincoln Highway 1             Suite #:
PERMIT
             City: Bensalem                             State: P.A.        ZIP: 192020
                     Project Description: Restoration of fire damaged Motel Building


PART II              Existing Use: Existing Motel
PROJECT              Proposed Use: Same as Above
DATA
                              New Structure/Facility            ESTIMATED TOTAL COST OF ENTIRE PROJECT:
                              Addition                         $ $1,200,000  PERlater
                                                                 To be submitted  DANIEL HAHN
                              Alteration or Renovation    ■ Interior    Exterior    Both
                              Alteration of Land / Regrading / Site Work        Other:
                     NEW Construction (sq. ft./floor)                                           Total Sq. Ft:
                     Addition (sq. ft./floor)                                                   Total Sq. Ft:
                     Renovated (sq. ft./floor)              19,830 (Both floors)                Total Sq. Ft:        19,830 (Both floors)

                     Is this Application Part of an Approved Land Development or Storm Water Management Plan?                     YES   ■   NO
                     1. Bensalem Township Council Decision:                                                      Date:
                     2. Bucks County Conservation District Approval:                                             Date:
PART III
                     TOTAL NUMBER OF FIXTURES:                   128 existing fixtures will be replaced with new
PLUMBING
PART IV             NOTE: Manufacturers specifications on HVAC units shall be submitted with application.
HVAC                TOTAL COST OF HVAC WORK:                   $ $60,000
                                                                  To be submitted later
                                                                           PER DANIEL   HAHN
PART VI                                       Temporary            Amps:                         Phase:                  Volts:
ELECTRICAL          Service Type:
                                              New Service          Amps:                         Phase:                  Volts:
PERMIT
                                   ITEM                                QTY                                ITEM                          QTY
                    Switches, Receptacles & Lighting                   300              Transformer             KVA
                    Heating & Cooking Equipment K.W.                                    Motors and/or Generators HP
                  TOTAL NUMBER OF METERS:
                                                APPLICANT CERTIFICATION
As the owner or the authorized agent of the project for which this application is filed, I certify that:
1. The estimated construction cost and all other information provided as part of this application for a building permit is correct.
2. The building or structure described in this application will not be occupied until all known code violations are corrected and a
   Certificate of Occupancy has been issued by the Department of Building and Planning.
3. This project will be constructed in accordance with the approved drawings and specifications (including any required non-design
   changes) and the Uniform Construction Code standards as specified in 34 PA Code Chapters 401-405
4. Any changes to the approved documents will be filed with the Department of Building and Planning.
5. If the licensed architect or engineer in responsible charge of this construction should change, then written notice of the change shall be
   provided to the Department of Building and Planning.
6. When required, up to 20% of the total cost of any work performed on an area of primary function in an existing building will be expanded
   to provide an accessible route to the area of primary function.
7. No error or omission in either the drawings and specifications or application, whether approved or not, shall permit or relieve me from
   constructing the work in any manner other than provided for in 34 PA Code Chapters 401-405.

                                                             BENSALEM
                                                                JA007150156
                   Case 2:18-cv-00822-WB Document 39-6 Filed 12/21/18 Page 42 of 88
 Bensalem Township Application for Building Permit                             Page 2 of 2   Permit Number:
 Applicant’s Name:              Purvi LLC. dba Lincoln Motel
 Address:                             Lincoln highway 1
                                2277,
 City:                           
                                Bensalem                     State: P.A.                    Zip Code: 19020
                                                                                                      
 Phone Number:                  215-431-1752
                                                                Email Address:judgejudy61@hotmail.com
 Date:                                                     Applicant’s Signature:
                                Name:             V.P.Architectural design LLC
         DESIGN                 Address:          200, Perrine road Suite # 202
      PROFESSIONAL              City:             Old bridge                               State: New Jersey
                                ZIP Code:         08857                                Phone No.           732-721-8300
   In Responsible Charge        License No:       RA402391                                  Fax:           732-721-3133
                                Email:
                                                       CONTRACTOR LIST
     TYPE                          NAME                                  ADDRESS                              PHONE             License #
    General                              To Be Selected                                              
   Electrical                            To Be Selected                                              
   Plumbing                              To Be Selected                                              
     HVAC                                To Be Selected                                              
     Other                                                             
                           NOTIFY THIS OFFICE WHENEVER A CHANGE IN CONTRACTOR OCCURS
                                                            FIRE ALARM
                                    All Fire Alarms Shall Be Addressable with Point ID
Type of Fire Alarm: Existing FA System  will be restore to working condition
     ■ Automatic                 Manual                     Voice                  Monitor                                 Water Flow Only
Initiation Devices (Smoke Detectors, Pull Stations, Etc)   Existing System will be restore to working condition

Notification Appliances:
Water Flow / Tamper Switches:                                                       Duct Detectors:
Power Supply:                                                                       Back Up Power:
Auxiliary Panels:                                                                      Annunciator
Knox Boxes:                                                                                      Other:
Interconnected to other systems:
Monitoring Co:                                                                    Monitoring Co Phone #:
                                                      SPRINKLER SYSTEMS
Type of Sprinkler System:           Not Applicable
System Design:                          Hydraulic                Pipe Schedule
Hazard and Class Type:
Number of Sprinkler Heads:                                                     In Racks           Yes                 No
Number of Risers:                                                       Number of Zones:
FDC Size:                                                                    “K” Factor:
Interconnected to fire alarm:               Yes            No
Monitoring Co:                                                                               Monitoring Co Phone #:
                                                      STANDPIPE SYSTEMS
Type of Standpipe System:           Wet                         Dry         Class of Standpipe System:
Number of Outlets:                                                                    Number of Risers:
Sizes of Outlets:                                                      Number of Flow/Tamper Switches:
                                      FIRE HYDRANT / UNDERGROUND FIRE MAINS
Size of Fire Main:                                                       Total Length of Pipe:
Number of Fire Hydrants:                                              Size of Pipe to Hydrant:
Manufacturer of Hydrants:
                                                                FIRE PUMP
Type of Pump:                                                              Capacity of Pump:
Make / Model:                                                                Rating of Pump:
           All data on this sheet shall be provided on the plans. Failure to do so will result in rejection of the application.

                                                         BENSALEM
                                                            JA007160157
                               Approval of the plan is based on the information provided on the plans.
Rev 3/1/2016                                                                                                                       Rev 10/11/12
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             EXHIBIT JJ




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             EXHIBIT LL




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